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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE


    UNITED STATES OF AMERICA
                                                      Case No. 2:19-mj-00364-JHR
                   v.

    JUDITH RUIZ




           GOVERNMENT’S MOTION TO FOR LEAVE TO DISMISS COMPLAINT

               The United States of America, by and through Halsey B. Frank, United States Attorney

for the District of Maine, and Noah Falk, Assistant United States Attorney, hereby moves pursuant to

Fed. R. Crim. P. 48(a) to dismiss the Complaint in the above-captioned case. Upon further review and

careful consideration of the facts and the law, the government believes that dismissal of the Complaint

would be in the best interests of justice. Counsel for the defendant, Heather Gonzales, does not oppose

this motion.


Dated: October 23, 2020                          Respectfully submitted,

                                                HALSEY B. FRANK
                                                United States Attorney

                                                 /s/ Noah Falk
                                                 Noah Falk
                                                 Assistant U.S. Attorney
                                                 United States Attorney’s Office
                                                                     th
                                                 100 Middle Street, 6 Floor, East Tower
                                                 Portland, ME 04101
                                                 (207) 780‐3257
